         Case 1:11-cr-00354-JLT Document 119 Filed 12/21/12 Page 1 of 1


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 7
 8                        IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                 EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,                        )   1:11-cr-00354 LJO
11                                                    )
                            Plaintiff,                )   ORDER GRANTING GOVERNMENT’S
12                                                    )   MOTION TO DISMISS DEFENDANT
                                                      )   DANIEL NAVA WITHOUT PREJUDICE
13                           v.                       )   (Fed. R. Crim. P. 48(a))
                                                      )
14   DANIEL NAVA,                                     )
                                                      )
15                          Defendants.               )
                                                      )
16
17            IT IS HEREBY ORDERED that the charges as to DANIEL NAVA, only, in the above-
18   entitled case be dismissed without prejudice, in the interest of justice.
19
20   IT IS SO ORDERED.
21   Dated:      December 21, 2012                 /s/ Lawrence J. O'Neill   B9ed48
                                                   UNITED STATES DISTRICT JUDGE
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